                                                                     1   Jeffrey N. Pomerantz (CA Bar No. 143717)
                                                                         Debra I. Grassgreen (CA Bar No. 169978)
                                                                     2   John W. Lucas (CA Bar No. 271038)
                                                                         PACHULSKI STANG ZIEHL & JONES LLP
                                                                     3   150 California Street, 15th Floor
                                                                         San Francisco, California 94111-4500
                                                                     4   Telephone: 415.263.7000
                                                                         Facsimile: 415.263.7010
                                                                     5   Email: jpomerantz@pszjlaw.com
                                                                                 dgrassgreen@pszjlaw.com
                                                                     6           jlucas@pszjlaw.com

                                                                     7   Former Attorneys for Debtor and Debtor in Possession

                                                                     8
                                                                                                         UNITED STATES BANKRUPTCY COURT
                                                                     9
                                                                                                         NORTHERN DISTRICT OF CALIFORNIA
                                                                    10
                                                                                                                       OAKLAND DIVISION
                                                                    11   In re:                                                Case No. 16-43112-CN
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   Tri-Valley Learning Corporation,1                             Chapter 7
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13                                       Debtor.                   DECLARATION OF JOHN W. LUCAS
                                            ATTORNEYS AT LAW




                                                                                                                                       REGARDING DEBTOR’S SCHEDULE OF
                                                                    14                                                                 UNPAID DEBT PURSUANT TO RULE
                                                                                                                                       1019(5) OF THE FEDERAL RULES OF
                                                                    15                                                                 BANKRUPTCY PROCEDURE

                                                                    16

                                                                    17            I, John W. Lucas, declare as follows:

                                                                    18            The following facts are personally known to me, and if called to do so, I could and would

                                                                    19   competently testify thereto.

                                                                    20            1.       I am a partner in the law firm of Pachulski Stang Ziehl & Jones LLP (“PSZJ”). I

                                                                    21   submit this declaration regarding the Debtor’s schedule of unpaid postpetition debts pursuant to Rule

                                                                    22   1019(5) of the Federal Rules of Bankruptcy Procedure.

                                                                    23            2.       On July 12, 2017, the Court entered an order [Docket No. 366] converting the

                                                                    24   Debtor’s chapter 11 case to a case under chapter 7 of title 11 of the United States Code. After the

                                                                    25   conversion of the case, Bankruptcy Rule 1019(5) requires the Debtor to file a schedule of unpaid

                                                                    26   postpetition debts.

                                                                    27
                                                                         1
                                                                    28    The last four digits of the Debtor’s tax identification number are (4585). The location of the Debtor’s service address is
                                                                         3110 Constitution Drive, Livermore, CA 94551.

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                                                                     1          3.         Annexed hereto as Exhibit A (the “Schedule of Debts”) is a list of unpaid

                                                                     2   postpetition debts. The Schedule of Debts was provided to me by the Debtor’s former back-office

                                                                     3   administrative agent, Charter Impact, Inc., who processed the Debtor’s accounts payable.

                                                                     4          4.         Prior to or at the time the case was converted, all of the board members and

                                                                     5   employees of the Debtor resigned. As a result, there are no employees that can answer whether the

                                                                     6   Schedule of Debts represents all of the Debtor’s outstanding postpetition payment obligations or

                                                                     7   whether any of the listed debts have been satisfied in part or in full. Further, I do not know whether

                                                                     8   or not there are other outstanding postpetition debts.

                                                                     9          5.         After the conversion of the case, I received telephone calls from various parties

                                                                    10   inquiring about the payment of postpetition debts. Because the Debtor does not have any employees,

                                                                    11   I was not able to verify whether the foregoing parties held valid postpetition claims. As a result,
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   those asserted claims are not listed on the Schedule of Debts. Instead, I instructed the parties to file a
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13   motion for an administrative expense claim.
                                            ATTORNEYS AT LAW




                                                                    14          6.         The Schedule of Debts does not include unpaid professional fees. The estate

                                                                    15   professionals will file fee applications that will reflect their outstanding fees and expenses.

                                                                    16          I declare under penalty of perjury that the foregoing is true and correct. Executed on this 1st
                                                                    17   day of August, 2017, at San Francisco, California.
                                                                    18

                                                                    19                                                   /s/ John W. Lucas
                                                                                                                         John W. Lucas
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                                                                                                                              2
                                                                     1                                             EXHIBIT A

                                                                     2                                (Schedule of Unpaid Postpetition Debts)

                                                                     3

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P ACHULSKI S TANG Z IEHL & J ONES LLP




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                                        SAN FRANCISCO, CALIFORNIA




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                                            ATTORNEYS AT LAW




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 Tri Valley Learning Corporation
AP Aging

August 1, 2017


                                                                                 Invoice/Credit   Invoice/Credit             1 - 30 Days   31 - 60 Days   61 - 90 Days   Over 90 Days
                                         Vendor Name                                                               Current                                                               Total
                                                                                    Number             Date                   Past Due      Past Due       Past Due       Past Due

                 T-Mobile acct #951301577                                        TMOB111016        11/10/2016            -            -             -              -           675.31        675.31
                 Prime Alliance Bank, Inc.                                           1939839       11/13/2016            -            -             -              -        26,543.70     26,543.70
                 EHD                                                               IN0284169       11/21/2016            -            -             -              -            69.50         69.50
                 PresenceLearning                                                   INV11939       12/1/2016             -            -             -              -        42,500.00     42,500.00
                 Bianchi Impact 1, LP                                                 1022         12/10/2016            -            -             -              -         7,732.88      7,732.88
                 Prime Alliance Bank, Inc.                                           1940569       12/11/2016            -            -             -              -        26,543.70     26,543.70
                 United Site Services Customer ID: USS-370743                    114-4819133       12/22/2016            -            -             -              -           541.07        541.07
                                                                                 114-4819136       12/22/2016            -            -             -              -            26.53         26.53
                 The Bank of New York Mellon                                     252-1990572       12/28/2016            -            -             -              -         1,500.00      1,500.00
                 United Site Services Customer ID: USS-370743                    114-4849525       12/31/2016            -            -             -              -           580.17        580.17
                 Prime Alliance Bank, Inc.                                           1941575       1/11/2017             -            -             -              -        26,483.09     26,483.09
                 HDS White Cap Const Supply                                      50005626413       1/20/2017             -            -             -              -         1,128.00      1,128.00
                 CNA Surety                                                      CNAS012417        1/24/2017             -            -             -              -           200.00        200.00
                 California Preparatory Academy                                   CALI012517       1/25/2017             -            -             -              -        17,500.00     17,500.00
                 Alameda County Office of Education/Accounts Receivable          INV17-00401       1/25/2017             -            -             -              -           374.03        374.03
                 Waxie Sanitary Supply                                           WAXI012617        1/26/2017             -            -             -              -        (1,618.83)    (1,618.83)
                 Wells Fargo Equipment Finance Billing #90136593737                 86212486       1/29/2017             -            -             -              -        31,367.20     31,367.20
                 Jostens                                                            19412104       1/30/2017             -            -             -           252.89            -          252.89
                 CFS NorCal Inc                                                  201701LCSE        1/31/2017             -            -             -              -          (204.75)      (204.75)
                 Donald R. White, Tax Collector, Alameda County                  ALAM020117         2/1/2017             -            -             -              -         8,041.05      8,041.05
                 Comcast acct #900016087                                            50182837        2/1/2017             -            -             -              -        15,268.12     15,268.12
                 General Wholesale Electric Supply                               S4315852.001       2/1/2017             -            -             -              -           110.00        110.00
                 Northwest Evaluation Association                                INV00055085        2/1/2017             -            -             -              -           127.50        127.50
                 Ricoh USA, Inc.                                                    98284091        2/3/2017             -            -             -              -         5,582.21      5,582.21
                 Wells Fargo Equipment Finance Billing #90136593737                 86284353        2/5/2017             -            -             -              -         7,841.80      7,841.80
                 Wells Fargo Equipment Finance Billing #90136565575                 86283621        2/5/2017             -            -             -              -         6,413.04      6,413.04
                 Wells Fargo Equipment Finance Billing #90136580620                 86283913        2/5/2017             -            -             -              -         8,627.67      8,627.67
                 Ricoh USA, Inc.                                                    98307454        2/8/2017             -            -             -              -           936.26        936.26
                 QualitySound                                                         48190         2/9/2017             -            -             -              -         1,113.00      1,113.00
                 Give Something Back, Inc.                                        IN-0593022        2/9/2017             -            -             -              -           469.41        469.41
                 PODS Enterprises, LLC customer #120104188                     STOC-C000001582     2/10/2017             -            -             -              -          (160.12)      (160.12)
                                                                                STOC000010168      2/10/2017             -            -             -              -           285.64        285.64
                                                                                STOC000010169      2/10/2017             -            -             -              -           206.61        206.61
                                                                               STOC-C000001586     2/11/2017             -            -             -              -          (206.61)      (206.61)
                 Ladder Learning Services LLC                                         2896         2/11/2017             -            -             -              -           270.00        270.00
                 Prime Alliance Bank, Inc.                                           1942490       2/12/2017             -            -             -              -        26,483.09     26,483.09
                 AT&T acct #925 245-0763 086 9                                 ATTX021317-0869     2/13/2017             -            -             -              -           452.96        452.96
                 Blaisdells Business Products                                      1176312-0       2/14/2017             -            -             -              -         1,512.63      1,512.63
                 Ricoh USA, Inc.                                                    98338652       2/14/2017             -            -             -              -           685.76        685.76
                 Pitney Bowes Global Financial Services LLC acct #0016388438      00738885LN       2/15/2017             -            -             -              -            32.00         32.00
                 Blaisdells Business Products                                      1176728-0       2/16/2017             -            -             -              -         1,108.75      1,108.75
                                                                                   1176728-1       2/17/2017             -            -             -              -            27.09         27.09




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                                                                 Invoice/Credit   Invoice/Credit             1 - 30 Days   31 - 60 Days    61 - 90 Days   Over 90 Days
                        Vendor Name                                                                Current                                                                Total
                                                                     Number            Date                   Past Due      Past Due        Past Due       Past Due
                                                                    1176312-2       2/17/2017            -            -              -               -            29.99        29.99
Dryden Construction Inc.                                             291899         2/17/2017            -            -              -               -         2,973.60     2,973.60
Pitney Bowes Global Financial Services LLC acct# 0016865427       3101043837        2/19/2017            -            -              -               -           226.15       226.15
Jostens                                                             19520410        2/20/2017            -            -              -               -             9.33         9.33
Houghton Mifflin Harcourt                                        HOUG022117         2/21/2017            -            -              -               -           183.98       183.98
Give Something Back, Inc.                                          IN-0596868       2/22/2017            -            -              -               -            58.21        58.21
Silver Tree Landscape Management                                      1677          2/22/2017            -            -              -               -           750.00       750.00
City of Livermore                                                     3705          2/22/2017            -            -              -               -         2,624.15     2,624.15
CAASFEP                                                           CALI022317        2/23/2017            -            -              -               -           175.00       175.00
Blaisdells Business Products                                        1177996-0       2/23/2017            -            -              -               -           987.75       987.75
                                                                    1177999-0       2/23/2017            -            -              -               -           152.93       152.93
PODS Enterprises, LLC customer #120104188                       STOC000010568       2/23/2017            -            -              -               -           205.66       205.66
Personnel Concepts                                                PERS022417        2/24/2017            -            -              -               -            20.90        20.90
Blaisdells Business Products                                        1178096-0       2/24/2017            -            -              -               -         1,095.49     1,095.49
Purchase Power acct #8000-9090-0612-2944                          PURC022617        2/26/2017            -            -              -               -           806.50       806.50
Give Something Back, Inc.                                          IN-0598339       2/27/2017            -            -              -               -           534.98       534.98
Livermore Sanitation, Inc. acct #044720                              847031         2/28/2017            -            -              -               -         1,331.93     1,331.93
Livermore Sanitation, Inc. acct# 044722                              847032         2/28/2017            -            -              -               -         3,535.15     3,535.15
Document Tracking Services                                           9455102        2/28/2017            -            -              -               -         1,575.00     1,575.00
Foundations Tutoring Inc.                                             3508           3/1/2017            -            -              -               -         1,167.50     1,167.50
Blaisdells Business Products                                        1179214-0        3/2/2017            -            -              -               -           204.71       204.71
Ricoh USA, Inc.                                                     98408183         3/2/2017            -            -              -               -         1,073.14     1,073.14
Blaisdells Business Products                                        1179558-0        3/3/2017            -            -              -               -           214.52       214.52
                                                                    1179711-0        3/6/2017            -            -              -               -           163.09       163.09
Liden Technologies                                                   303557          3/7/2017            -            -              -               -           450.00       450.00
AT&T acct #209 956 2155 711 2                                  ATTX031017-7112      3/10/2017            -            -              -               -           449.81       449.81
Tyco Intergrated Security LLC Customer #01300 109138287             28269131        3/11/2017            -            -              -               -         1,399.74     1,399.74
Pacific Mobile Structure, Inc.                                   031217-41483       3/12/2017            -            -              -               -           591.60       591.60
                                                                 031317-40443       3/13/2017            -            -              -               -           445.88       445.88
AT&T acct #925 245-0763 086 9                                  ATTX031317-0869      3/13/2017            -            -              -               -           462.96       462.96
Pitney Bowes Global Financial Services LLC acct #0017208292       00787704LN        3/15/2017            -            -              -               -           196.65       196.65
Pitney Bowes Global Financial Services LLC acct #0017446557       3101087614        3/15/2017            -            -              -               -           355.20       355.20
Pitney Bowes Global Financial Services LLC acct #0017208292       3101086180        3/15/2017            -            -              -               -           196.65       196.65
Ricoh USA, Inc.                                                     98501801        3/17/2017            -            -              -               -           636.41       636.41
Blaisdells Business Products                                        1182103-1       3/17/2017            -            -              -               -            32.75        32.75
                                                                    1182534-0       3/20/2017            -            -              -               -            38.23        38.23
PSAT/NMSQT                                                        381729962A        3/21/2017            -            -              -               -           975.00       975.00
Comcast acct #8155 40 065 0181280                                COMC032417         3/24/2017            -            -              -               -         1,322.43     1,322.43
Pitney Bowes Global Financial Services LLC acct #0016388438       00810731LN        3/27/2017            -            -              -               -           676.89       676.89
Blaisdells Business Products                                        1184370-0       3/29/2017            -            -              -               -           131.06       131.06
CCSA                                                                 757437         3/31/2017            -            -              -               -         1,050.00     1,050.00
City of Livermore                                                716-1383-2017      3/31/2017            -            -              -               -           775.00       775.00
Pitney Bowes Global Financial Services LLC acct #0016388438       3101160285        3/31/2017            -            -              -               -           226.15       226.15
Pitney Bowes Global Financial Services LLC acct # 0017275298      3101154728        3/31/2017            -            -              -               -           355.11       355.11
Livermore Sanitation, Inc. acct# 044722                              849041         3/31/2017            -            -              -               -         3,535.15     3,535.15
Livermore Sanitation, Inc. acct #044720                              849040         3/31/2017            -            -              -               -         1,331.93     1,331.93
Ricoh USA, Inc.                                                     98569760        3/31/2017            -            -              -               -         1,266.84     1,266.84
Western Exterminator Company                                     WEST033117         3/31/2017            -            -              -               -            90.00        90.00
The CLM Group, Inc.                                                   30243          4/1/2017            -            -           506.25             -              -         506.25
                                                                      30244          4/1/2017            -            -           506.25             -              -         506.25




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                                                                Invoice/Credit   Invoice/Credit             1 - 30 Days   31 - 60 Days    61 - 90 Days    Over 90 Days
                         Vendor Name                                                              Current                                                                 Total
                                                                    Number            Date                   Past Due      Past Due        Past Due        Past Due
                                                                     30245          4/1/2017            -            -           506.25             -               -         506.25
                                                                     30246          4/1/2017            -            -           506.25             -               -         506.25
Foundations Tutoring Inc.                                            3615           4/1/2017            -            -              -               -          1,167.50     1,167.50
1st Security & Sound, Inc. Monitoring #48-6647                      106567          4/1/2017            -            -              -               -            100.00       100.00
PG&E acct #8692306202-9                                       PG&E041917-202-9      4/2/2017            -            -              -               -          3,876.95     3,876.95
Blaisdells Business Products                                       1184992-0        4/3/2017            -            -              -            571.03             -         571.03
                                                                   1184992-1        4/4/2017            -            -              -             91.54             -          91.54
Casey Moving Systems                                             C5527-7-001        4/4/2017            -            -              -          6,425.00             -       6,425.00
Alameda County Office of Education/Accounts Receivable           INV17-00587        4/5/2017            -            -              -            374.03             -         374.03
General Wholesale Electric Supply                               S4315852.002        4/5/2017            -            -              -            179.55             -         179.55
Ricoh USA, Inc.                                                    98596591         4/5/2017            -            -              -               -          1,763.76     1,763.76
PG&E acct #7906819018-4                                       PG&E040617-018-4      4/6/2017            -            -              -               -             78.70        78.70
Department of Justice                                               226567          4/6/2017            -            -              -            192.00             -         192.00
Tyco Intergrated Security LLC Customer #01300 109138287            28436161         4/8/2017            -            -              -               -          1,444.53     1,444.53
PG&E acct #6534604756-9                                       PG&E040917-756-9      4/9/2017            -            -              -               -          3,219.44     3,219.44
Ladder Learning Services LLC                                         3039           4/9/2017            -            -              -            378.00             -         378.00
Ricoh USA, Inc.                                                    98634085        4/10/2017            -            -              -            992.03             -         992.03
AT&T acct #209 956 2155 711 2                                 ATTX041017-7112      4/10/2017            -            -              -               -            450.83       450.83
AT&T acct #209 477-5438 809 6                                 ATTX041017-8096      4/10/2017            -            -              -               -            329.50       329.50
Blaisdells Business Products                                       1186538-0       4/10/2017            -            -              -            322.88             -         322.88
AT&T acct #209 477 5431 596 6                                    ATTX041017        4/10/2017            -            -              -               -             51.08        51.08
T-Mobile acct #951301577                                        TMOB041017         4/10/2017            -            -              -               -            522.00       522.00
Blaisdells Business Products                                       1186538-1       4/11/2017            -            -              -            102.67             -         102.67
                                                                   1186806-0       4/11/2017            -            -              -            423.77             -         423.77
Mid-County Officials Network                                   LVCPSBMCO17         4/12/2017            -            -              -          2,863.00             -       2,863.00
Pacific Mobile Structure, Inc.                                  041217-41483       4/12/2017            -            -              -               -            592.96       592.96
PG&E acct #0873686217-1                                       PG&E041217-217-1     4/12/2017            -            -              -               -          8,925.25     8,925.25
Pacific Mobile Structure, Inc.                                  041317-40443       4/13/2017            -            -              -               -            446.90       446.90
Blaisdells Business Products                                       1187265-0       4/13/2017            -            -              -             31.40             -          31.40
AT&T acct #925 245-0763 086 9                                 ATTX041317-0869      4/13/2017            -            -              -            453.28             -         453.28
Ricoh USA, Inc.                                                    98657074        4/14/2017            -            -              -            675.51             -         675.51
PG&E acct #1909169257-4                                       PG&E041717-257-4     4/17/2017            -            -              -          5,754.05             -       5,754.05
Pitney Bowes Global Financial Services LLC acct #0017208292      00849745LN        4/18/2017            -            -              -               -             32.00        32.00
Pitney Bowes Global Financial Services LLC acct# 0016865427      00848551LN        4/18/2017            -            -              -               -             32.00        32.00
Blaisdells Business Products                                       1187925-0       4/18/2017            -            -              -             34.94             -          34.94
                                                                   1187925-1       4/18/2017            -            -              -             17.47             -          17.47
City of Livermore acct #134290-04                             CITY041817-90-04     4/18/2017            -            -              -             69.90             -          69.90
City of Livermore acct #138857-02                             CITY041817-57-02     4/18/2017            -            -              -             43.88             -          43.88
City of Livermore acct #138604-02                             CITY041817-04-02     4/18/2017            -            -              -             91.95             -          91.95
City of Livermore acct #138525-02                             CITY041817-25-02     4/18/2017            -            -              -            243.94             -         243.94
City of Livermore acct #138855-02                             CITY041817-55-02     4/18/2017            -            -              -             43.88             -          43.88
City of Livermore acct #138856-02                             CITY041817-56-02     4/18/2017            -            -              -             43.88             -          43.88
City of Livermore acct #134265-03                             CITY041817-65-03     4/18/2017            -            -              -            279.28             -         279.28
City of Livermore                                                 CITY041817       4/18/2017            -            -              -          2,895.03             -       2,895.03
City of Livermore acct #134134-03                             CITY041817-34-03     4/18/2017            -            -              -          1,539.75             -       1,539.75
City of Livermore acct #134135-03                             CITY041817-35-03     4/18/2017            -            -              -             35.10             -          35.10
City of Livermore acct #138523-02                             CITY041817-23-02     4/18/2017            -            -              -             73.92             -          73.92
City of Livermore acct #138524-02                             CITY041817-24-02     4/18/2017            -            -              -             44.20             -          44.20
City of Livermore acct #138526-02                             CITY041817-26-02     4/18/2017            -            -              -             44.20             -          44.20
City of Livermore acct #138527-02                             CITY041817-27-02     4/18/2017            -            -              -            240.32             -         240.32




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                                                                 Invoice/Credit   Invoice/Credit             1 - 30 Days   31 - 60 Days    61 - 90 Days    Over 90 Days
                          Vendor Name                                                              Current                                                                 Total
                                                                    Number             Date                   Past Due      Past Due        Past Due        Past Due
City of Livermore acct #138528-02                              CITY041817-28-02     4/18/2017            -            -              -             44.20             -          44.20
Educational Data Systems, Inc.                                    EDUC041917        4/19/2017            -            -           197.11             -               -         197.11
Blaisdells Business Products                                       1187925-2        4/19/2017            -            -              -            659.80             -         659.80
                                                                   1188319-0        4/19/2017            -            -              -             79.74             -          79.74
Livermore Valley Joint Unified School District                     AR013908         4/20/2017            -            -              -         68,316.00             -      68,316.00
Michael's Transportation Service, Inc.                                97251         4/21/2017            -            -              -               -          3,475.00     3,475.00
California Water Service acct # 5149133243                      CALI042117-3243     4/21/2017            -            -              -             36.79             -          36.79
Comcast acct #8155 40 065 0181280                                COMC042417         4/24/2017            -            -              -               -          1,271.59     1,271.59
Pitney Bowes Global Financial Services LLC acct # 0017275298      3101230842        4/25/2017            -            -              -              8.84             -           8.84
Michael's Transportation Service, Inc.                                97084         4/25/2017            -            -              -               -          1,255.00     1,255.00
                                                                      97088         4/25/2017            -            -              -               -          3,475.00     3,475.00
Pitney Bowes Global Financial Services LLC acct #0017208292       3101226569        4/25/2017            -            -              -              5.04             -           5.04
Pitney Bowes Global Financial Services LLC acct #0017446557       00865866LN        4/26/2017            -            -              -               -             32.00        32.00
                                                                  00867820LN        4/26/2017            -            -              -               -            110.74       110.74
Blaisdells Business Products                                       1189632-0        4/26/2017            -            -              -            443.47             -         443.47
Suzy Hites                                                        HITE042717        4/27/2017            -            -              -          1,850.00             -       1,850.00
CFS NorCal Inc                                                    201704LCSE        4/30/2017            -            -              -               -          1,549.55     1,549.55
                                                                  201704LCSH        4/30/2017            -            -              -               -            997.02       997.02
Revolution Foods, Inc.                                               427142         4/30/2017            -            -              -         11,471.27             -      11,471.27
Republic Services #208 acct #3-0208-0020555                     0208-000575147      4/30/2017            -            -              -            326.17             -         326.17
Livermore Sanitation, Inc. acct #044720                              859209         4/30/2017            -            -              -          1,331.93             -       1,331.93
Livermore Sanitation, Inc. acct# 044722                              859210         4/30/2017            -            -              -          3,535.15             -       3,535.15
RingCentral Inc. Cust ID: 366986020                                  236985         4/30/2017            -            -              -          9,835.84             -       9,835.84
Western Exterminator Company                                        5060346         4/30/2017            -            -              -            120.00             -         120.00
Sonitrol                                                           1301192-IN        5/1/2017            -            -              -            531.00             -         531.00
                                                                   1301193-IN        5/1/2017            -            -              -            235.00             -         235.00
Philadelphia Insurance Companies                                  4026368426         5/1/2017            -            -              -         12,394.25             -      12,394.25
Bianchi Impact 1, LP                                                  1027           5/1/2017            -            -              -               -          7,732.88     7,732.88
Celebrations Speech Group                                         CELE050217         5/2/2017            -            -              -          7,505.00             -       7,505.00
                                                                CELE050217-01        5/2/2017            -            -              -            950.00             -         950.00
SignPro                                                               17261          5/5/2017            -            -              -            766.70             -         766.70
PG&E acct #7906819018-4                                        PG&E050717-018-4      5/7/2017            -            -              -             76.58             -          76.58
Silver Tree Landscape Management                                      2179           5/8/2017            -            -           135.00             -               -         135.00
Blaisdells Business Products                                       1191896-0         5/8/2017            -            -            95.04             -               -          95.04
                                                                   1191817-0         5/8/2017            -            -           542.92             -               -         542.92
Suzy Hites                                                        HITE050817         5/8/2017            -            -         1,900.00             -               -       1,900.00
Blaisdells Business Products                                       1191817-1         5/9/2017            -            -            74.50             -               -          74.50
                                                                   1191817-2         5/9/2017            -            -            63.35             -               -          63.35
                                                                   1192066-0         5/9/2017            -            -           300.79             -               -         300.79
PG&E acct #0514197726-3                                        PG&E050917-726-3      5/9/2017            -            -              -            403.00             -         403.00
Michael's Transportation Service, Inc.                                97438         5/10/2017            -            -              -          3,475.00             -       3,475.00
                                                                      97439         5/10/2017            -            -              -          3,127.50             -       3,127.50
PG&E acct #6534604756-9                                           PGEX051017        5/10/2017            -            -              -          3,735.06             -       3,735.06
AT&T acct #209 477 5431 596 6                                  ATTX051017-5966      5/10/2017            -            -              -             51.06             -          51.06
AT&T acct #209 477-5438 809 6                                  ATTX051017-8096      5/10/2017            -            -              -            329.46             -         329.46
AT&T acct #209 956 2155 711 2                                  ATTX051017-7112      5/10/2017            -            -              -            450.97             -         450.97
1st Security & Sound, Inc. Monitoring #48-6647                       107089         5/10/2017            -            -              -            100.00             -         100.00
US Yellow Pages acct # 5225-1027137                              2420758-36-02      5/10/2017            -            -              -            259.00             -         259.00
T-Mobile acct #951301577                                         TMOB051017         5/10/2017            -            -           744.11             -               -         744.11
Blaisdells Business Products                                       1192545-0        5/11/2017            -            -            77.56             -               -          77.56




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                                                            Invoice/Credit   Invoice/Credit                  1 - 30 Days     31 - 60 Days    61 - 90 Days   Over 90 Days
                         Vendor Name                                                              Current                                                                       Total
                                                                Number            Date                        Past Due        Past Due        Past Due       Past Due
CFS NorCal Inc                                              20170511LCS        5/11/2017                -              -               -           (204.75)          -             (204.75)
Ricoh USA, Inc.                                                98794290        5/11/2017                -              -          1,337.98             -             -            1,337.98
PG&E acct #0873686217-1                                      PGEX051217        5/12/2017                -              -               -         10,389.84           -           10,389.84
AT&T acct #925 245-0763 086 9                             ATTX051317-0869      5/13/2017                -              -            453.20             -             -              453.20
Tyco Intergrated Security LLC Customer #01300 109138287        28593253        5/13/2017                -              -               -          1,444.53           -            1,444.53
Department of Industrial Relations                        S 1435357 OA-01      5/14/2017                -              -               -            337.00           -              337.00
                                                          S 1435404 OA-01      5/14/2017                -              -            337.00             -             -              337.00
                                                          S 1435429 OA-01      5/14/2017                -              -            337.00             -             -              337.00
                                                          S 1435454 OA-01      5/14/2017                -              -            337.00             -             -              337.00
Lovotti Inc                                                      E2343         5/15/2017                -              -               -            237.50           -              237.50
City of Livermore acct #138528-02                         CITY051617-28-02     5/16/2017                -              -             44.20             -             -               44.20
City of Livermore acct #138527-02                         CITY051617-27-02     5/16/2017                -              -            272.89             -             -              272.89
City of Livermore acct #138526-02                         CITY051617-26-02     5/16/2017                -              -             44.20             -             -               44.20
City of Livermore acct #138524-02                         CITY051617-24-02     5/16/2017                -              -             44.20             -             -               44.20
City of Livermore acct #138523-02                         CITY051617-23-02     5/16/2017                -              -             92.01             -             -               92.01
City of Livermore acct #138856-02                         CITY051617-56-02     5/16/2017                -              -             55.92             -             -               55.92
City of Livermore acct #138855-02                         CITY051617-55-02     5/16/2017                -              -             74.56             -             -               74.56
City of Livermore acct #138525-02                         CITY051617-25-02     5/16/2017                -              -            258.42             -             -              258.42
City of Livermore acct #138604-02                         CITY051617-04-02     5/16/2017                -              -             91.95             -             -               91.95
City of Livermore acct #138857-02                         CITY051617-57-02     5/16/2017                -              -             43.88             -             -               43.88
City of Livermore acct #134290-04                         CITY051617-90-04     5/16/2017                -              -             93.20             -             -               93.20
Ricoh USA, Inc.                                                98814164        5/17/2017                -              -            697.91             -             -              697.91
Suzy Hites                                                   HITE051817        5/18/2017                -              -          2,000.00             -             -            2,000.00
California Water Service acct # 5149133243                CALI051917-3243      5/19/2017                -              -             36.46             -             -               36.46
Blaisdells Business Products                                  1194330-0        5/19/2017                -              -            607.29             -             -              607.29
TAG Marketing Group                                              17-Jun        5/22/2017                -              -          1,100.00             -             -            1,100.00
Michael's Transportation Service, Inc.                           97752         5/24/2017                -              -               -          3,475.00           -            3,475.00
                                                                 97772         5/25/2017                -              -               -          3,475.00           -            3,475.00
Silver Tree Landscape Management                                  2194         5/29/2017                -              -            375.00             -             -              375.00
Celebrations Speech Group                                    CELE053017        5/30/2017                -              -          8,550.00             -             -            8,550.00
                                                           CELE053017-01       5/30/2017                -              -          1,045.00             -             -            1,045.00
Livermore Sanitation, Inc. acct #044720                         879586         5/31/2017                -              -          1,346.93             -             -            1,346.93
Julie Lassig                                                       102          6/1/2017                -              -          1,375.00             -             -            1,375.00
Bianchi Impact 1, LP                                         BIAN060117         6/1/2017                -              -               -         58,000.00           -           58,000.00
Sonitrol                                                      1302475-IN        6/1/2017                -              -            235.00             -             -              235.00
Julie Lassig                                                       103          6/5/2017                -         4,750.00             -               -             -            4,750.00
Suzy Hites                                                   HITE060617         6/6/2017                -         2,700.00             -               -             -            2,700.00
Christopher J Bertelli                                             140          6/7/2017                -        11,000.00             -               -             -           11,000.00
Lynn Lysko                                                   LYSK061617        6/16/2017                -              -            271.98             -             -              271.98
Legal Shield Group #16406                                    LEGA062517        6/25/2017                -              -            129.60             -             -              129.60
Lynn Lysko                                                  LYSK062917         6/29/2017                -              -            577.67             -             -              577.67


                                                                Total Outstanding Invoices    $         -   $ 18,450.00      $ 28,420.83     $235,432.21   $347,192.74     $   629,495.78




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